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 8                          UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                           Case No.: 16-CR-354-DMS
12                                      Plaintiff,
                                                          ORDER DENYING MOTION FOR
13    V.                                                  SENTENCE MODIFICATION
                                                          UNDER 18 U.S.C. § 3582(C)
14    JOEL WRIGHT,
15                                    Defendant.
16
17          On September 1 6, 2020, Defendant Joel Wright filed a motion for compassionate
1 8 release under 1 8 U .S.C. § 3582(c)(1 )(A). The United States filed a response in opposition,
19    and Defendant filed a reply. For the reasons given herein, the C ourt denies Defendant's
20 motion.
21                                                   I.
22                                       BACKGROUND
23
24                                                                                    Defendant
25 was sentenced to 1 88 months in prison, followed by a lifetime term of supervised release.
26 (ECF No. 45.) Defendant's projected release date is in June of 2029. (ECF No. 5 1 at 2.)
27          Defendant is twenty-eight years old; he suffers from a range of medical conditions,
28    as described in detail in his sealed filings. (See ECF No. 54; Ex. J to ECF No. 5 1 .)


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 1   Defendant is currently incarcerated in FCI Danbury. (ECF No. 5 1 at 1 .) Based on these
2 allegations and the risks associated with COVID-19, Defendant filed the present motion
3    for compassionate release under 1 8 U.S.C. § 3582(c)(l)(A), seeking a reduction of his
4 sentence to time served. (Id. ) The United States opposes Defendant's motion. (ECF No.
5    60.)
6                                                  a
7                                           DISCUSSION
 8          In general, a court may not modify a sentence of incarceration once it has been
 9   imposed, unless expressly permitted by statute or Rule 3 5 of the Federal Rules of Criminal
1 0 Procedure. United States v. Penna, 3 1 9 F.3d 509, 5 1 1 (9th Cir. 2003). The First Step Act
11   ("FSA") is such a statute. See Pub L. 1 1 5-391, 132 Stat. 5 194, 5239 (2018). Among the
12   criminal justice reforms implemented by the FSA, Congress amended 1 8 U.S.C.
13    § 3582(c )(l)(A) to allow the defendant to move the district court for compassionate release
14   after exhausting the Bureau of Prisons ("BOP") process.
15          Section 35 82(c) o f Title 1 8 of the United States Code provides that a court may not
1 6 modify a term of imprisonment except "upon motion o f Director of the Bureau of Prisons,
17    or upon motion ofthe defendant." A defendant may bring a § 3 582(c) motion after she has
18    "fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons" to
19    act or "the lapse of 3 0 days from the receipt of such a request by the warden of the
20    defendant's facility, whichever is earlier." 1 8 U.S.C. § 3 582(c)(l )(A). Administrative
21    exhaustion is a prerequisite to filing the motion in district court, and " [e]xhaustion occurs
22 when the BOP denies a defendant's app lication or lets thirty days pass without responding
23    to it." United States v. Mondaca, No. 89-cr-0655-DMS, 2020 WL 1 029024, at *2 (S.D.
24 Cal. Mar. 3, 2020) (internal quotation marks and citations omitted). Here, Defendant
25    submitted a request for compassionate release to the warden of FCI Danbury, which was
26 denied on April 30, 2020. (Ex. Q to ECF No. 5 1 .) Accordingly, the Court addresses the
27    merits of Defendant's motion.
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1           The FSA allows a district court to modify a sentence and grant compassionate release
2    if it finds "extraordinary and compelling reasons" warrant such a reduction, the reduction
3     complies with 1 8 U.S.C. § 3553(a), and the defendant "is not a danger to the safety of any
4     other person or to the community." See 1 8 U.S.C. § 3 582(c)(l)(A); United States
5     Sentencing Guidelines ("U.S.S.G.") § 1 B 1 . 1 3 . Defendant contends he meets the foregoing
6     criteria. As the movant, Defendant bears the burden of establishing that he is eligible for
7     a sentence reduction. See United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).
 8          1 . Extraordinary and Compelling Reasons
9           Defendant argues he is eligible for compassionate release because his disabilities
10    and underlying health conditions, in combination with his conditions of confinement,
11    render him unable to care for himself and make him particularly susceptible to COVID-19.
12    The Sentencing Guidelines provide that extraordinary and compelling reasons may exist
13    for compassionate release where a defendant suffers from, among other conditions, "a
14    serious physical or mental condition . . . that substantially diminishes the ability of the
15    defendant to provide self-care within the environment of a correctional facility and from
16    which he or she is not expected to recover." U.S.S.G. § 1 B 1 . 1 3, cmt. l (A)(ii).
17          The United States does not address Defendant's medical issues in its response.
18    Rather, it contends even if Defendant has presented "extraordinary and compelling
19    reasons," he is not entitled to compassionate release because he has neither demonstrated
20    that he is not a danger to others or the community nor that the § 3553 factors weigh in favor
21    of release. The Court agrees and thus need not decide whether Defendant's conditions
22    constitute "extraordinary and compelling reasons."
23           2. Danger to Others or the Community
24           Even where extraordinary and compelling reasons exist, the court must consider
25    whether the defendant is "a danger to the safety of any other person or to the community,
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 1   as provided in 1 8 U.S.C. § 3142(g)." 1 U.S.S.G. § 1 B l . 13(1)(A), (2), cmt. 1 . To make this
2 assessment, the Court is directed to the factors set out in § 3 142(g), including, among other
3    things: (1) the nature and circumstances of the offense charged; (2) the history and
4 characteristics of the person, including character, physical and mental condition, family
5    ties, employment, financial resources, past conduct, criminal history, and drug and alcohol
6 abuse; and (3) the nature and seriousness of the danger to any person or the community
7 that release would impose. These factors overlap with the § 3553(a) factors.
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18      Defendant argues U.S.S.G. § 1 B l . 1 3's dangerousness requirement applies only to a
      "sentencing reduction" under 1 8 U.S.C. § 3582(c)(l)(A)(ii) and not to "compassionate
19    release" under § 3582(c)(l )(A)(i). (ECF No. 6 1 at 2 n. l .) The Court finds this argument
20    unpersuasive. The First Step Act provides that a sentence reduction under either subsection
      of § 3582(c)(l )(A) must be "consistent with applicable policy statements issued by the
21    Sentencing Commission." 1 8 U.S.C. § 3582(c)(l)(A). The relevant policy statement,
22    U.S.S.G. § l B l . 1 3 , states that a court may reduce a term of imprisonment if it finds all
      three of the following: (1) the defendant has either presented extraordinary and compelling
23    reasons or met statutory criteria regarding his age and sentence; (2) the defendant is not a
24    danger to the community; and (3) the reduction is consistent with the policy statement.
      Accordingly, the Court addresses dangerousness regardless of how the defendant satisfies
25    the first element. See U.S.S.G. § l B l .13, cmt. l (defining "extraordinary and compelling
26    reasons," but noting defendant must meet "requirements of subdivision (2)," i. e. ,
      dangerousness analysis). In any event, even if Defendant were correct, the § 3553(a)
27    factors encompass dangerousness by requiring the Court to consider the need to protect the
28    public, as Defendant acknowledges.

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 1          Defendant argues his health and disabilities have worsened while incarcerated,
2 making him less dangerous than he was at the time of the offense. The United States
3    contends Defendant was already legally blind with restricted mobility when he committed
4    his crime,
5                                                    . Although the Court credits Defendant's
6    evidence that Defendant's conditions have worsened while in custody, the Court agrees
7 with the United States that Defendant's abilities are not so diminished as to render him
 8 unable to recidivate.
9           Defendant points to additional factors such as community support, but after
10   consideration, the Court finds these factors do not outweigh the nature and seriousness of
11   the danger Defendant presents. Defendant has not met his burden to show he would not
1 2 pose a danger to the community if released. Moreover, even if he could make such a
13    showing, the balance o f the § 3553(a) factors weigh decidedly against release, as discussed
14 below.
15          3 . § 3553(a) Factors
16          Finally, the Court must consider "the factors set forth in section 3 553(a) to the extent
1 7 that they are applicable." 1 8 U.S.C. § 3582(c)(l)(A). Section 3553(a) provides that the
18    sentencing court must impose a sentence that is "sufficient, but not greater than necessary
19    . . . (A) to reflect the seriousness of the offense, to promote respect for law, and to provide
20 just punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C)
21    to protect the public from further crimes of the defendant; and (D) to provide the defendant
22 with needed educational or vocational training, medical care, or other correctional
23    treatment in the most effective manner." 1 8 U.S.C. § 3553(a)(2)(A)-(D). The court also
24 must consider, among other factors, "the nature and circumstances of the offense and the
25    history and characteristics of the defendant" and the "need to avoid unwarranted sentence
26    disparities among defendants with similar records who have been found guilty of similar
27    conduct." Id. § 3553(a)(l),(6).
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 1          Defendant argues that the time he has already served- approximately one-third of
2    his 1 88-month sentence- is sufficient to satisfy the purposes of sentencing. Defendant
3    contends that his blindness has made his incarceration more punitive, and points to his
4    family support and desire to seek help.
5           Many of the § 3 5 53(a) factors overlap with the § 3 142(g) factors already addressed,
6    including the seriousness of the offense, protection of the public, and history and
7    characteristics of the defendant.     The Court acknowledges Defendant's history and
 8   characteristics, including positive support from family members and others as well as his
 9   various health ailments and difficult childhood. On balance, however, the § 3553(a) factors
1 0 weigh squarely against release. As discussed above, there is a strong need to protect the
11   public, and as Defendant rightfully recognizes, his offense was "incredibly serious." (ECF
1 2 No. 5 1 at 28.) Moreover, given the nature of Defendant's conduct, the need to provide just
13   punishment and promote respect for law in this case is significant. Defendant has a lengthy
1 4 amount of time remaining on his sentence. "To so dramatically reduce [Defendant's]
15    sentence . . . would neither be just nor promote respect for the law; if anything, it would
1 6 promote disrespect for the law."
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20          In sum, Defendant's 1 88-month sentence is not greater than necessary to address
21    § 3553(a)'s overarching goals of punishment, deterrence, protection of society, and
22 rehabilitation. These factors weigh against releasing Defendant at this time.
23                                                III.
24                                 CONCLUSION AND ORDER
25          For the foregoing reasons, Defendant's motion for compassionate release pursuant
26 to 1 8 U.S.C. § 3582(c)(l)(A) is respectfully denied.
27          IT IS SO ORDERED.
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 1   Dated: December 21, 2020
2                                         ��I. � - �
                                          Hon. Dana M. Sabraw
3                                         United States District Judge
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